
In re Mount Vernon Mills Ine.; DB Riley Inc.; Eagle Inc.; Abney Mills Corp.; McCarty Corporation; Midland-Ross Corp.; J.O. Ross Engineering; Brandon Drying Fabrics Inc.; — Defendants; Applying for Supervisory and/or Remedial Writs, Parish of Washington, 22nd Judicial District Court Div. G, Nos. 70,760, 72,154, 72,986; to the Court of Appeal, First Circuit, Nos. 2002 CW 0450, 2002 CW 0451, 2002 CW 452.
Stay denied. Writ denied.
VICTORY, J., would grant the writ.
TRAYLOR, J., would grant the writ.
